Case 0:20-cv-60192-AHS Document 252-1 Entered on FLSD Docket 03/17/2021 Page 1 of 10




                            Exhibit 1
Case 0:20-cv-60192-AHS Document 252-1 Entered on FLSD Docket 03/17/2021 Page 2 of 10
Case 0:20-cv-60192-AHS Document 252-1 Entered on FLSD Docket 03/17/2021 Page 3 of 10
Case 0:20-cv-60192-AHS Document 252-1 Entered on FLSD Docket 03/17/2021 Page 4 of 10
Case 0:20-cv-60192-AHS Document 252-1 Entered on FLSD Docket 03/17/2021 Page 5 of 10
Case 0:20-cv-60192-AHS Document 252-1 Entered on FLSD Docket 03/17/2021 Page 6 of 10
Case 0:20-cv-60192-AHS Document 252-1 Entered on FLSD Docket 03/17/2021 Page 7 of 10
Case 0:20-cv-60192-AHS Document 252-1 Entered on FLSD Docket 03/17/2021 Page 8 of 10
Case 0:20-cv-60192-AHS Document 252-1 Entered on FLSD Docket 03/17/2021 Page 9 of 10
Case 0:20-cv-60192-AHS Document 252-1 Entered on FLSD Docket 03/17/2021 Page 10 of
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